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                        WRITTEN CONSENT IN LIEU OF A MEETING


         The undersigned, constituting the managing members of HERITAGE 286

RIDER AVE LLC, the sole member of 286 RIDER AVE HOLDINGS LLC, the sole

member of 286 RIDER AVE DEVELOPMENT LLC (“Sole Member”), and the sole

member of 286 RIDER AVE ACQUISITION LLC (the “Borrower”), each a New York

limited liability company, hereby consent to the adoption of the following resolutions in

lieu of a meeting thereof:

          WHEREAS, the Borrower is desirous of borrowing certain funds from BE-

AVIV 286 RIDER LLC (“Lender”), and Lender is willing to extend a loan to Borrower

in the original principal amount of EIGHT MILLION AND 00/100 ($8,000,000.00)

DOLLARS (the “Loan”), pursuant to the terms and conditions of that certain Mortgage

and Security Agreement (the “Mortgage”), Promissory Note (the “Note”), Membership

Interest Pledge Agreement (the “Pledge”) and other ancillary documents in connection

therewith (collectively the “Loan Documents”);

         WHEREAS, as collateral for the Loan, the Borrower has agreed to grant to

Lender a first priority mortgage on the property located at 286 Rider Avenue, Bronx,

New York 10451 (the “Property”); and

         WHEREAS, it is in the best interests of the Borrower that the Borrower enter

into the Loan, execute and deliver to Lender the Note and grant to Lender a first priority

mortgage on the Property;

         WHEREAS, it is in the best interests of the Sole Member to execute and deliver

to Lender the Pledge;

         NOW THEREFORE, IT IS HEREBY

         RESOLVED, that the Borrower is authorized to enter into the Loan, execute and


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deliver to Lender the Note and to grant to Lender a first priority mortgage on the

Property;

       RESOLVED, that the Sole Member is authorized to execute and deliver to

Lender the Pledge;

       RESOLVED, that Toby Moskovits (the “Authorized Signatory”) be, and hereby

is, authorized to execute and deliver on behalf of the Borrower and the Sole Member all

agreements and collateral documents, including, without limitation, the Loan Documents,

Membership Interest Pledge Agreement and any security agreements with any such

changes as the Authorized Signatory shall deem necessary or appropriate to effectuate the

Loan, the execution of each of the same with any such changes thereto to be conclusive

evidence of the approval of such changes by the members as if specifically approved in

these resolutions; and

       RESOLVED, that the Authorized Signatory, be, and hereby is, authorized and

directed to execute and deliver on behalf of the Borrower and the Sole Member any and

all such agreements, instruments and other documents, to pay all such amounts, costs,

fees and expenses and to take all such further action as may be required or appropriate,

under the provisions of the Loan, as such officer, deems necessary or appropriate to

effectuate the intent and purposes of the foregoing resolutions;

       RESOLVED, that any actions heretofore taken by the Borrower or any officer or

member on behalf of the Borrower are hereby ratified in its entirety; and

       RESOLVED, that any actions heretofore taken by the Guarantor or any officer

on behalf of the Guarantor are hereby ratified in its entirety.



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          IN WITNESS WHEREOF, the undersigned have executed this as of this            day


  of September, 2019.


    A
                    A^L
  Toby Mo/kovifs                                              Yechicp Michael Lichtenstein



  286 RIDER AVE DEVELOPMENT LLC, a
  New York limited liability company



  By: 286 RIDER AVE HOLDINGS LLC, its
        Sole Member



          By: HERITAGE 286 RIDER AVE LLC, its
                Sole Member



                   By:                                ^
                         Name: Toby Moskovits
                         Title: Managing Member



                   By:
                         Name: Y^chial Michael Lichtenstein
                         Title: Managing Member




  286 RIDER AVE HOLDINGS LLC, a
  New York limited liability company



  By: HERITAGE 286 RIDER AVE LLC, its
     Sole Member



          By:                                       -(.'J


                Name: Tony Moskovits
                Title: Managing Member



          By:
                Name: Yefchial Michael Lichtenstein
                Title: Managing Member


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  HERITAGE 286 RIDER AVE LLC, a
  New York limited liability company



                                    X_o-
  By:^
    Name: Toby/Moskovits
        Title: Managing Member



  By:
                mJ/4
        Name: Yednial Michael ILichtenstein
        Title: Managing Member




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